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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                        Case No.: BK-18-14846-JDL
JUDITH DARLENE SNOW,                                    Chapter 13

       DEBTOR.


                      AMENDED CREDITOR’S WITNESS AND EXHIBIT LIST

       COMES NOW the Creditor, QUICKEN LOANS INC., (“QUICKEN”), through its undersigned
counsel, and hereby submits its Amended Witness and Exhibit List for the hearing scheduled for March
12, 2019 on Debtor’s Objection to Proof of Claim #1 (Doc. 14) and Debtor’s Motion for
Determination of Fees, Expenses, or Charges Pursuant to Rule 3002.1(E) (Doc. 13). QUICKEN
informs the Court and counsel that this amendment is filed due to the fact that QUICKEN had to confirm
that the expert witness(es) named herein would be willing and able to testify herein. QUICKEN continues
to reserve the right to amend these lists as equity may require and/or allow.

                                                WITNESSES

No. Name                       Address            Proposed Testimony
1.  Michael L.                 1544 Old           Will testify to amount of work, skill and knowledge
    McCormick                  Alabama Rd.        required to receive, process and prepare bankruptcy
                               Roswell, GA        Proof of Claim matters along with reasonableness of
                               30076              fees and expenses challenged herein.
                               (678) 281-3918

2.   Bret D. Davis             5613 N. Classen    Will testify to amount of work, skill and knowledge
                               Blvd.              required to receive, process and prepare foreclosure
                               Oklahoma City,     matters and/or bankruptcy Proof of Claim matters along
                               OK 73118           with reasonableness of fees and expenses challenged
                               (405) 840-5900     herein.
3.   O. Clifton Gooding        204 N. Robinson    Will testify to amount of work, skill and knowledge
                               Ave.               required to receive, process and prepare bankruptcy
                               Suite 650          Proof of Claim matters along with reasonableness of
                               Oklahoma City,     fees and expenses challenged herein
                               OK 73102
                               (405) 948-1978

4.   All witnesses of other
     parties not objected to
     by QUICKEN
5.   Records custodians                           Identify and/or authenticate Creditor’s exhibits
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                                             EXHIBITS

No.                                         EXHIBIT
1.    Invoice(s) for Foreclosure Fees and Expenses
2.    Invoice(s) for Bankruptcy Fees and Expenses
3.    Pleadings and Claims Filed herein
4.    Note dated March 16, 2017
5.    Mortgage dated March 16, 2017 recorded March 29, 2017 in Book 13395 Page 629 of the Oklahoma
      County Clerk
6.    Any exhibit needed for impeachment or rebuttal purposes
7.    Debtor’s exhibits not objected to by QUICKEN




                                                  QUICKEN LOANS INC.




                                  By:         s/ Matthew J. Hudspeth
                                              MATTHEW J. HUDSPETH - #14613
                                              JIM TIMBERLAKE - #14945
                                              Baer Timberlake, P.C.
                                              4200 Perimeter Center, Suite 100
                                              Oklahoma City, OK 73102
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                                              mhudspeth@baer-timberlake.com
                                              Attorney for Creditor




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                                    CERTIFICATE OF SERVICE

I hereby certify that I mailed a true and correct copy of the above and foregoing Amended Witness and Exhibit
List with postage thereon fully prepaid to the parties listed below on February 25, 2019.

Judith Darlene Snow
1713 Hampton Dr.
Oklahoma City, OK 73115

      The following persons should have received notice of the above and foregoing instrument on the
same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
Sansone Howell PLLC
Arvest Bank Tower, Suite 500
4600 SE 29th St
Del City, OK 73115
                                     By:         s/ Matthew J. Hudspeth____________
                                                 MATTHEW J. HUDSPETH - #14613
                                                 JIM TIMBERLAKE - #14945
                                                 Baer Timberlake, P.C.
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                                                 mhudspeth@baer-timberlake.com
                                                 Attorney for Creditor




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